        Case 3:24-cv-01046-KM        Document 36       Filed 12/30/24     Page 1 of 9



                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

 CARLYN FLOYD and LOGAN
 HOLL, Individually and as Parents
 and Natural Guardians of C.H., a                  CIVIL ACTION NO. 3:24-CV-01046
 minor,
                                                            (MEHALCHICK, J.)
                      Plaintiffs,
        v.

 WAYNE MEMORIAL HOSPITAL
 and
 WAYNE MEMORIAL HEALTH
 SYSTEM, INC., et al.,

                      Defendants.

                                     MEMORANDUM

       The present matter was commenced in the Court of Common Pleas of Lackawanna

County when Plaintiffs Carlyn Floyd (“Ms. Floyd”) and Logan Holl (“Mr. Holl”),

individually and as Parents and Natural Guardians of C.H. (“C.H”) (collectively with Ms.

Floyd and Mr. Holl, “Plaintiffs”) filed a complaint (Doc. 1-1) on August 30, 2023 against

Defendants Wayne Memorial Hospital (“Hospital”) and Wayne Memorial Hospital System

(“Health System”) (collectively, with Hospital, “Wayne Memorial Defendants”). On June

25, 2024, the case was removed to this Court by Third-Party Defendant United States of

America (“United States”) (collectively, with Wayne Memorial Defendants, “Defendants”).

(Doc. 1). Presently before the Court is a motion to sever and remand filed by Plaintiffs. (Doc.

11). For the following reasons, the Court will GRANT Plaintiffs’ motion (Doc. 11) and

REMAND Plaintiffs’ state law claims to the Lackawanna County Court of Common Pleas.

I.      BACKGROUND AND PROCEDURAL HISTORY

       Plaintiffs filed suit in the Lackawanna County Court of Common Pleas on August 30,
           Case 3:24-cv-01046-KM       Document 36        Filed 12/30/24     Page 2 of 9

       In


2023 against the Wayne Memorial Defendants. Plaintiffs assert claims of gross negligence,

corporate negligence, and negligent infliction of emotion distress related to the alleged

handling of Ms. Floyd’s labor and delivery during C.H.’s birth. (Doc. 1-1, at 1-28).

       On December 5, 2023,1 the Wayne Memorial Defendants joined Catharine R. Scully,

CNM (“Scully”) and Alexis Felsman, D.O (“Felsman”), two providers who participated in

Ms. Floyd’s labor and delivery of C.H., by filing a joinder complaint asserting claims of

indemnity and contribution against Scully and Felsman if Plaintiff’s allegations are proven at

trial. (Doc. 1-1, at 38; Doc. 20, at 8; Doc. 20-8). On June 25, 2024, the United States removed

this action to this Court and substituted itself for Scully and Felsman on the basis that Scully

and Felsman were acting within the scope of their employment as federal employees when

the alleged negligence occurred. (Doc. 1; Doc. 1-2; Doc. 12, at 5; Doc. 20, at 9; Doc. 23, at

3).

       On July 16, 2024, Plaintiffs filed a motion to sever and remand. (Doc. 11). On July

17, 2024, Plaintiffs filed a brief in support. (Doc. 12). On August 20, 2024, Wayne Memorial

Defendants filed a brief in opposition. (Doc. 20). On August 30, 2024, the United States filed

a brief in opposition. (Doc. 23). On September 11, 2024, Plaintiffs filed two reply briefs, one

responding to each brief in opposition. (Doc. 27; Doc. 28). The motion to sever and remand

has been fully briefed and accordingly is ripe for discussion. (Doc. 11; Doc. 12; Doc. 20; Doc.

23; Doc. 27; Doc. 28).

 II.       MOTION TO REMAND STANDARD




       1
         In their brief in support of this motion, Plaintiffs assert that the joinder complaint was
filed on November 20, 2023. (Doc, 12, at 5). However, the joinder complaint clearly denotes
December 5, 2023 as the filing date. (Doc. 20-8).
                                                2
        Case 3:24-cv-01046-KM         Document 36       Filed 12/30/24     Page 3 of 9

       In


       The removal of cases from state courts to federal courts is governed by 28 U.S.C. §§

1441–1455. Under § 1441(a), a defendant may remove “any civil action brought in a state

court of which the district courts of the United States have original jurisdiction . . . to the

district court of the United States for the district and division embracing the place where such

action is pending.” 28 U.S.C. § 1441(a). Pursuant 28 U.S.C. 1441(c)(2), the Court may sever

and remand any “claim not within the original or supplemental jurisdiction of the district

court or a claim that has been made nonremovable by statute.”

       Section 1446 of the removal statute further sets forth the procedures for removal,

explaining that a defendant seeking removal of an action must file a petition for removal with

the proper district court that contains “a short and plain statement of the grounds for removal,

together with a copy of all process, pleadings, and orders served upon such defendant or

defendants” in the state court action. 28 U.S.C. § 1446(a). After a case has been removed, a

plaintiff may move to remand the action back to state court under 28 U.S.C. § 1447(c) for

“(1) lack of district court subject matter jurisdiction or (2) a defect in the removal

procedure.” Ramos v. Quien, 631 F. Supp. 2d 601, 607 (E.D. Pa. Nov. 18, 2008) (quoting PAS

v. Travelers Ins. Co., 7 F.3d 349, 352 (3d Cir. 1993)). A “motion to remand the case on the

basis of any defect other than lack of subject matter jurisdiction must be made within 30 days

after the filing of the notice of removal.” 28 U.S.C. § 1447(c).

       Because federal courts are courts of limited jurisdiction, both the Supreme Court of

the United States and the Third Circuit Court of Appeals have recognized that removal

statutes are to be strictly construed against removal with all doubts resolved in favor of

remand. See, e.g., Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09 (1941); Samuel–




                                               3
           Case 3:24-cv-01046-KM      Document 36       Filed 12/30/24     Page 4 of 9

       In


Bassett v. KIA Motors Am., Inc., 357 F.3d 392, 396 (3d Cir. 2004) (citing Boyer v. Snap-on Tools

Corp., 913 F.2d 108, 111 (3d Cir. 1990)).

III.       DISCUSSION

       In their complaint, Plaintiffs assert only state law claims; further, the Wayne Memorial

Defendants and Plaintiffs are not diverse. (Doc. 1-1, at 19-28). Accordingly, federal

jurisdiction relies entirely on the presence of the United States as a party. The Wayne

Memorial Defendants joined Scully and Felsman, federal employees acting within the scope

of their employment. Pursuant to 42 U.S.C. § 233(c), the United States substituted itself for

Scully and Felsman, and the indemnity and contribution joinder complaint against them is

correctly deemed a tort action brought against the United States pursuant to the FTCA. See

42 U.S.C. § 233(c) (suits where the United States is a party when it has substituted itself for

its employees “shall be removed without bond at any time before trial by the Attorney General

to the district court of the United States of the district and division embracing the place

wherein it is pending”).2 As this Court has original jurisdiction over the indemnity and

contribution claims; jurisdiction over Plaintiffs’ state law claims is based upon supplemental

jurisdiction pursuant to 28 U.S.C. § 1367.3 Plaintiffs ask this Court to decline to exercise


       2
          Additionally, the United States is the only proper defendant in an FTCA action. See,
e.g., Brownback v. King, 141 S.Ct. 740, 746 (2021) (explaining that, when Congress passed the
FTCA, it waived the sovereign immunity of the United States, so that parties can sue the
United States directly for harms caused by its employees); CNA v. United States, 535 F.3d 132,
138 n.2 (3d Cir. 2008), as amended (Sept. 29, 2008), (noting that “[t]he Government is the
only proper defendant in a case brought under the FTCA”).
       3
         The United States argues that Plaintiffs’ motion to sever and remand under § 1367
should be construed as a motion to sever under Rule 14. (Doc. 23, at 7). The United States
submits that while Rule 14 also entrusts the decision to sever and remand to the discretion of
the district court. (Doc. 23, at 7). According to the United States, the third-party complaint
for indemnity and contribution is a derivative claim that invokes Rule 14, not properly
construed as a claim before this Court based upon its original jurisdiction, to which the
underlying state law claims are supplemental. (Doc. 23, at 11-12). However, this Court agrees
                                               4
        Case 3:24-cv-01046-KM          Document 36        Filed 12/30/24      Page 5 of 9

       In


supplemental jurisdiction over the state law claims, but rather to sever those claims and

remand them to the Lackawanna County Court of Common Pleas.

       This Court has jurisdiction of those Plaintiffs’ claims solely through the exercise of

supplemental jurisdiction under 28 U.S.C. § 1367. (Doc. 1-1). If the Court does not exercise

supplemental jurisdiction, Plaintiffs’ claims should be remanded back to state court pursuant

28 U.S.C. § 1441; see Stouffer v. RestoreCore Mgmt., Inc., No. CIV.A. 1:07-CV-1587, 2008 WL

2682110, at *3 (M.D. Pa. July 1, 2008) (“Without supplemental jurisdiction under § 1367, the

Court lacks subject matter jurisdiction” over claims not implicating federal law).

Supplemental jurisdiction in circumstances such as these is largely discretionary. When a

plaintiff alleges federal law claims that fall within this Court's original jurisdiction pursuant

to 28 U.S.C. § 1331, the Court may exercise supplemental jurisdiction over the plaintiff's state

law causes of action, or decline to do so, pursuant to 28 U.S.C. § 1367. Section 1367 provides

in pertinent part that “in any civil action of which the district courts have original jurisdiction,



with Plaintiffs and the Wayne Memorial Defendants’ that the motion to sever and remand is
properly addressed under the supplemental jurisdiction statute, § 1367 (c)(2). See Grant v.
UPMC Pinnacle Hosps., No. 1:20-CV-1988, 2021 WL 1516464 (M.D. Pa. Apr. 16, 2021)
(analyzing the motion to sever indemnity claims against the United States and remand
remaining state law claims under the § 1367 supplemental jurisdiction standard); Exxon Mobil
Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 547 (2005) (finding that the text of § 1376 “makes
clear that this grant [of supplemental jurisdiction] extends to claims involving joinder or
intervention of additional parties” and stating “Section 1367(a) is a broad grant of
supplemental jurisdiction over other claims within the same case or controversy, as long as
the action is one in which district courts would have original jurisdiction”); Kraemer v.
Rostraver Twp., No. 2:22-CV-01232, 2023 WL 2206565, at *6 (W.D. Pa. Feb. 24, 2023) (“§
1367 represents a limited grant of jurisdiction; it does not authorize this Court to exercise
jurisdiction over a state law claim merely because it would be convenient to try it along with
the federal claims”). Additionally, § 1367 itself clearly states that the supplemental jurisdiction
statute applies even when claims involve third-party complaints or joinder. See 28 U.S.C. §
1367(a) (“supplemental jurisdiction shall include claims that involve the joinder or
intervention of additional parties.”). Accordingly, the Court will analyze the motion as a
motion to sever and remand pursuant to § 1367.
                                                 5
           Case 3:24-cv-01046-KM       Document 36       Filed 12/30/24     Page 6 of 9

       In


the district courts shall have supplemental jurisdiction over all other claims that are so related

to claims in the action within such original jurisdiction that they form part of the same case

or controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a).

However, the jurisdiction grant is permissive, not mandatory. District courts may properly

decline to exercise supplemental jurisdiction when the state law claim(s) “substantially

predominates over the claim or claims over which the district court has original jurisdiction.”

28 U.S.C. § 1367(c)(2). The standard courts should employ to determine whether state law

predominates is as follows:

       “Courts must evaluate the following factors when considering which claims
       substantially predominates: ‘the scope of the state and federal issues, the terms
       of proof required by each type of claim, the comprehensiveness of the remedies,
       and the ability to dismiss the state claims without prejudice to determine
       whether the state claim constitutes the real body of the case.’”

       Grant v. UPMC Pinnacle Hosps., No. 1:20-CV-1988, 2021 WL 1516464, at *3
       (M.D. Pa. Apr. 16, 2021) (quoting De Asencio v. Tyson Foods, Inc., 342 F.3d 301,
       312 (3d Cir. 2003), as amended (Nov. 14, 2003)).

The Third Circuit has further explained, “a district court will find substantial predomination

‘where a state claim constitutes the real body of a case, to which the federal claim is only an

appendage–only where permitting litigation of all claims in the district court can accurately

be described as allowing a federal tail to wag what is in substance a state dog.’” De Asencio,

342 F.3d at 309 (Borough of W. Mifflin v. Lancaster, 45 F.3d 780, 789 (3d Cir.1995) (quotation

omitted)).

       Here, Plaintiffs’ state law claims substantially predominate. The factual circumstances

in Grant were nearly identical to the present matter,4 and in that case, the Court found that



       4
        In Grant, plaintiffs sued a hospital system and hospital, alleging that healthcare
providers were negligent in the delivery of their child. See Grant, 2021 WL 1516464, at *1.
                                                6
        Case 3:24-cv-01046-KM         Document 36       Filed 12/30/24      Page 7 of 9

       In


when considering the scope of the state and federal issues, “state law controls almost entirely.”

Grant, 2021 WL 1516464, at *3. The Grant court reasoned that, while the FTCA claims

require exclusive federal jurisdiction, Pennsylvania state law dictates FTCA liability. Grant,

2021 WL 1516464, at *3. The same rule applies here. See LaLoup v. United States, 92 F. Supp.

3d 340, 347 (E.D. Pa. 2015) (“Because the statute looks to ‘the law of the place where the act

or omission occurred,’ we must apply state substantive law to determine liability under the

FTCA.”) (quoting McKenna v. Pacific Rail Serv., 32 F.3d 820, 825 (3d Cir.1994)); CNA v. United

States, 535 F.3d 132, 141 (3d Cir. 2008), as amended (Sept. 29, 2008) (noting that state tort law

governs FTCA liability); cf. Wilson v. United States, 79 F.4th 312, 317 (3d Cir. 2023) (finding

that the FTCA’s incorporation of state law means that the substantive state law is “the source

of substantive liability under the FTCA.”) (quoting F.D.I.C. v. Meyer, 510 U.S. 471, 478

(1994)). The substantive law involved in this matter, including the indemnity and contribution

claims against the United States, is grounded in state law. The Wayne Memorial Defendants

concede that “no questions of substantive federal law apply to this case.” (Doc. 20, at 14).

Accordingly, even though Scully and Felsman were acting within the scope of their

employment as federal employees during the period at issue, implicating the FTCA and

exclusive federal jurisdiction for any claims against them personally, the scope of state law is

substantially larger and more relevant than that of federal law.

       The second consideration, the terms of proof, also weighs in favor of severing

Plaintiff’s claims and remanding them to state court. Plaintiffs’ claims rely entirely on state

tort law. (Doc. 1-1, at 19-28). Moreover, the terms of proof is reliant on the application of

state law, as the Wayne Memorial Defendants’ own joinder complaint made its claims against

Scully and Felsman contingent upon Plaintiffs proving their state claims in the first place.


                                               7
        Case 3:24-cv-01046-KM          Document 36        Filed 12/30/24      Page 8 of 9

       In


(Doc. 1-1, at 38). In the joinder complaint, the Wayne Memorial Defendants repeatedly

qualify Scully and Felsman’s liability, noting that the third-party defendants would only be

liable “if the allegations of plaintiffs’ Complaint are proven at trial.” (Doc. 1-1, at 38).

Therefore, it follows that the terms of proof for all issues in this matter rely entirely on state

law.

       The Court next finds that that comprehensiveness of the state law remedies sufficiently

addresses Plaintiffs’ damages. State law can provide the remedies for Plaintiffs’ claims against

the Wayne Memorial Defendants. In turn, the Wayne Memorial Defendants may seek

indemnity in federal court after the resolution of those claims. Grant, 2021 WL 1516464, at

*4.

       Finally, the considerations of general fairness and judicial economy favor Plaintiffs.

The claims in this matter cannot be tried together because the indemnity and contribution

action is entirely dependent on the resolution of the Wayne Memorial Defendants’ liability.

See Baylay v. Etihad Airways P.J.S.C., 881 F.3d 1032, 1041 (7th Circ. 2018) (“third-party

contribution claims are entirely dependent on the resolution of the underlying state-law

negligence claim[s] against them”). Should this Court stay the third-party complaint and

allow for resolution of Plaintiffs’ claims at the state court level, judicial economy will be

served as the scope of the indemnity and contribution action will be clarified by the results of

the state court trial. Grant, 2021 WL 1516464, at *4. Further, district courts in this Circuit

have previously emphasized that “a plaintiff is generally entitled to its choice of forum.” Cruz

v. Aspen Landscaping Contracting, Inc., No. CV208546KMJBC, 2021 WL 457858, at *4 (D.N.J.

Feb. 8, 2021). Additionally, there has not been any significant discovery or motion practice

in this Court outside of the instant motion, and the parties already set a trial date in state court


                                                 8
        Case 3:24-cv-01046-KM         Document 36       Filed 12/30/24      Page 9 of 9

       In


when this matter was removed. The Court finds that the issues of fairness and judicial

economy also support a state court forum for Plaintiffs’ claims. (Doc. 11-1, at 86-94); see

Cozzan v. Shore Mem'l Hosp., No. CIV.A. 14-4737 JBS/J, 2014 WL 7883688, at *4-5 (D.N.J.

Dec. 31, 2014) (granting a plaintiff’s motion to remand and stating issues of fairness and

judicial economy are served by remand because the federal case had only been ongoing for

five months, no discovery had occurred, and “the substantive activity in this litigation has

been comprised only of the briefing associated with the pending motions”).

       For the foregoing reasons, Plaintiffs’ state law claims will be SEVERED and

REMANDED to state court. The Court will retain jurisdiction over the FTCA claims against

the United States and STAY this matter until the resolution of Plaintiffs’ claims against the

Wayne Memorial Defendants. See Grant, 2021 WL 1516464, at *4 (dismissing plaintiffs’ state

law claims without prejudice and staying FTCA claims until resolution of the state claims);

Baylay, 881 F.3d 1032 (finding that a district court did not abuse its discretion by declining to

exercise supplemental jurisdiction over third-party indemnity/contribution claims).

IV.     CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion is GRANTED. (Doc. 11). Plaintiffs’ state

claims are REMANDED and the FTCA claims against the United States are STAYED until

the resolution of Plaintiffs’ claims against the Wayne Memorial Defendants. The Clerk of

Court is directed to STAY this case. An appropriate Order follows.

                                                           BY THE COURT:



Dated: December 30, 2024                                 s/ Karoline Mehalchick
                                                         KAROLINE MEHALCHICK
                                                         United States District Judge

                                               9
